 USCA Case #21-5265              Document #2012886             Filed: 08/16/2023      Page 1 of 1
                       United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________
No. 21-5265                                                     September Term, 2022
                                                                           1:21-cv-02192-DLF
                                                            Filed On: August 16, 2023
West Flagler Associates, Ltd., a Florida
Limited Partnership, doing business as Magic
City Casino and Bonita-Fort Myers
Corporation, a Florida Corporation, doing
business as Bonita Springs Poker Room,

                  Appellees

         v.

Debra A. Haaland, in her official capacity as
Secretary of the United States Department of
the Interior and United States Department of
the Interior,

                  Appellees

Seminole Tribe of Florida,

                  Appellant


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Consolidated with 22-5022


                                             ORDER

         Upon consideration of appellees’ petition for rehearing en banc, it is

       ORDERED, on the court’s own motion, that within 15 days of the date of this
order, appellant file a response to the petition for rehearing en banc. The response
may not exceed 3,900 words. Absent an order of the court, a reply to the response will
not be accepted for filing.


                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                      BY:     /s/
                                                              Daniel J. Reidy
                                                              Deputy Clerk
